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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

 ASHLEY SCOGGIN,                            )              Case No. 4:24-CV-3039
                                            )
                     Plaintiff,             )
                                            )
       v.                                   )
                                            )
 BOARD OF REGENTS OF THE                    )
 UNIVERSITY OF NEBRASKA, and                )
 Individuals AMY WILLIAMS, TREV             )
 ALBERTS, and CHUCK LOVE, JR., In their     )
 individual capacities,                     )
                                            )
                     Defendants.            )



                        BRIEF IN SUPPORT OF DEFENDANTS’
                         MOTION TO STRIKE JURY DEMAND


                                         Submitted by:

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Dated the 17th day of January, 2025.
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       Pursuant to FED. R. CIV. P. 12(f), the Board of Regents of the University of Nebraska

(“BRUN” or “Board of Regents”); Amy Williams (“Williams”), in her individual capacity; and

Trev Alberts (“Alberts”), in his individual capacity (collectively referred to as “Defendants”),

respectfully submit this Brief in support of their Motion to Strike Plaintiff’s demand for a

jury trial (“Motion”) with respect to the Third and Fourth Causes of Action. [Doc. No. 1.]

                                    I.         BACKGROUND

       On February 18, 2024, Plaintiff Ashley Scoggin (“Scoggin”), a former student at the

University of Nebraska-Lincoln (“University”), filed a lawsuit (hereinafter referred to as

“Complaint”) against the Board of Regents; Amy Williams, in her individual capacity; Trev

Alberts, in his individual capacity, and Chuck Love, Jr., in his individual capacity.

       BRUN respectfully moves this Court to strike the jury demand in the Plaintiff’s

Complaint because Plaintiff has no constitutional or statutory right to a jury trial on claims

asserted in the Third and Fourth Causes of Action. In a lawsuit against a state agency—

which BRUN is—Plaintiff has a right to a jury trial only where the right is one of the terms

of the government’s consent to be sued, which waiver of immunity must be unequivocally

expressed or clearly implied. There is no clear or expressed language waiving such

immunity; therefore, Plaintiff is not entitled to a jury trial on her Title IX claims against

BRUN. Moreover, at common law, no action for damages lay against public officials acting

in their official capacities as agents of the sovereign, and thus no right to a jury trial for

such a claim. See Buss v. Douglas, 59 F.R.D. 334, 336 (D. Neb. 1973).

                                         II.   ARGUMENT

       Under Rule 12(f) of the Federal Rules of Civil Procedure, a party may request a court

to strike from any pleading any insufficient defense or redundant, immaterial, impertinent,

or scandalous matter. Therefore, Rule 12(f) can be used to strike a jury demand. Harms v.

City of N. Platte, No. 8:17CV301, 2017 WL 6501848, at *1 (D. Neb. Dec. 19, 2017) (striking

jury demand pursuant to Rule 12(f)). As detailed herein, Plaintiff is not entitled to a jury trial


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on her Title IX claim, or any claims asserted pursuant to the Fourth Cause of Action.

Plaintiff’s jury demand regarding these claims should be stricken.

A.     PLAINTIFF IS NOT ENTITLED TO A JURY TRIAL ON HER TITLE IX CLAIM.

       In the Third Cause of Action, Plaintiff alleges a Title IX violation. [See Doc. No. 1, ¶¶

85 – 93.] The Third Cause of Action is arguably asserted against BRUN. However, the

Complaint does not expressly state that the Third Cause of Action is limited to BRUN. To

the extent the Third Cause of Action is asserted against the other individual Defendants, the

individual Defendants are asking the Court to strike the jury demand with respect to the

Third Cause of Action alleging a Title IX violation, in its entirety. The Plaintiff is not entitled

to a jury with respect to this claim.

       The U.S. Supreme Court, Eighth Circuit Court, and the Nebraska Supreme Court

have held state entities enjoy sovereign immunity under the Eleventh Amendment and

general state sovereign immunity, absent consent. See Allen v. Cooper, 140 S. Ct. 994, 1000

(2020); Church v. Missouri, 913 F.3d 736, 742 (8th Cir. 2019); Jill B. v. State, 297 Neb. 57,

66, 899 N.W.2d 241, 250 (2017). A state’s sovereign immunity “derives both from common

law tradition and constitutional design.” Carroll v. Douglas Cnty., Nebraska, No. 8:21-CV-

233, 2021 WL 4504334, at *6 (D. Neb. Oct. 1, 2021) (citing Alden v. Maine, 527 U.S. 706,

733 (1999).

       BRUN is a state agency, entitled to state sovereign immunity under both the

constitutional designs of the Eleventh Amendment to the U.S. Constitution and the

Nebraska Constitution, and under common law. See Doe v. Univ. of Nebraska, 451 F. Supp.

3d 1062, 1101 (D. Neb. 2020) (holding BRUN and the University are entitled to sovereign

immunity).

       “A waiver of sovereign immunity is found only where stated by the most express

language of a statute or by such overwhelming implication from the text as will allow no

other reasonable construction.” Burke v. Bd. of Trustees of Nebraska State Colleges, 302

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Neb. 494, 502, 924 N.W.2d 304, 311 (2019). It is a well settled principle that “statutes

purporting to waive the protection of sovereign immunity are to be strictly construed in

favor of the sovereign and against waiver.” Edwards v. Douglas Cty., 308 Neb. 259, 267-

68 (2021) (emphasis added).

       To determine whether a plaintiff is entitled to a jury trial on a claim against a state,

courts first look to the statute itself. Tull v. United States, 481 U.S. 412, 417-418 (1987).

“The pivotal issue is whether the statutory language underlying the Plaintiff's claims secures

the right to a jury trial.” Casteel v. City of Crete, No. 4:16CV3166, 2017 WL 3635184 at *3

(D. Neb. Aug. 23, 2017). “If the statute in question expressly provides for a jury trial, that is

the end of the matter. If the statute is silent on the issue of jury trial, then it is necessary to

inquire whether a jury trial is constitutionally required under the Seventh Amendment.”

Casteel, 2017 WL 3635184, at *3 (quoting Pandazides v. Va. Bd. of Educ., 13 F.3d 823, 827

(4th Cir. 1994)).

       First, there is no provision in Title IX or 42 U.S.C. § 2000d–7 imposing a waiver of

sovereign immunity including a jury trial, or even requiring or addressing a trial by jury.

Title IX does not provide Plaintiff a right to a jury trial against a state agency. It is true that

42 U.S.C.A. § 2000d-7 provides the “state shall not be immune under the Eleventh

Amendment of the Constitution of the United States from suit in Federal court for a violation

of…section 504 of the Rehabilitation Act of 1973 [29 U.S.C. 794], Title IX…by recipients of

Federal financial assistance.” However, there is no clear or express language in 42 U.S.C. §

2000d-7 or the general provisions of Title IX waiving sovereign immunity for jury trial.

       In fact, this court has held “[P]rovisions of Title IX do[es] not contain explicit textual

authorization for a jury trial.” Abdulsalam v. Bd. of Regents of Univ. of Nebraska, No.

4:22CV3004, 2023 WL 2374460, at *1 (D. Neb. Mar. 6, 2023). See also Doe v. Bd. of Regents

of Univ. of Nebraska, No. 4:21CV3049, 2023 WL 2351687, at *2 (D. Neb. Mar. 3, 2023).




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       Second, Plaintiff is not guaranteed a jury trial under the Seventh Amendment of the

Constitution, because the rule of sovereign immunity, “an ancient rule inherited from the

days of absolute monarchy,” pre-dates the Seventh Amendment. See Jill B. v. State, 297

Neb. 57, 66–67, 899 N.W.2d 241, 250 (2017). To determine whether the Seventh Amendment

requires a jury trial pursuant to a statutory cause of action, such as Plaintiff’s Title IX case,

the Plaintiff must show: (1) the cause of action was “tried at law at the time of the founding

or is at least analogous to one that was;” and (2) that the particular trial decision must fall

to the jury in order to preserve the substance of the common law right as it existed in 1791.

City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687, 708 (1999) (internal

quotation marks and citations omitted).

       In this case, there is no historical right to a jury trial against the State or its officers.

“In 1875, there was no right to a jury trial on any issue in a suit against the State or its

political subdivisions because the common-law doctrine of sovereign immunity, and the

related common-law doctrine of governmental immunity, operated to bar such suits at that

time.” Jacobson v. Shresta, 288 Neb. 615, 624, 849 N.W.2d 515, 521 (2014). The Nebraska

Supreme Court has supported this reasoning:

       The rule of sovereign immunity has been characterized as “‘an ancient rule
       inherited from the days of absolute monarchy’” or, less pejoratively, as an
       inheritance of 18th-century English law. It rests upon a broad doctrine
       recognizing the right of sovereign authority to be free of such liability except
       to the extent that it is waived or abrogated by the Legislature. The doctrine
       predated our state constitution, which was adopted with this rule in mind.
Jill B. v. State, 297 Neb. 57, 66–67, 899 N.W.2d 241, 250 (2017). See e.g., Carroll v. Douglas

County, 8:21CV233, 2021 WL 4504334, at *6 (D. Neb. Oct. 1, 2021) (holding plaintiff’s suit

under Section 1983 against Douglas County, a political subdivision of Nebraska, would be

contrary to the common-law right to a jury as it existed in 1791 because Douglas County

would enjoy sovereign immunity); Casteel, 2017 WL 3635184, at *3 (quoting Jacobsen v.

Shresta, 288 Neb. 615, 624 (2014) (“Under Nebraska law, there was no historical right to a

jury trial against the State or its political subdivisions ‘because of the common-law doctrine


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of sovereign immunity, and the related common-law doctrine of governmental immunity.’”);

Villaneuva v. City of Scottsbluff, No. 4:11CV3185, 2012 WL 45406 (D. Neb. Jan. 9, 2012)

(finding no right to a jury trial on a § 1983 claim for negligent infliction of emotional distress

“since there was no common law right to sue the political subdivisions of the State of

Nebraska, there was no Seventh Amendment right to a jury trial” (citing Gragg v. City of

Omaha, 812 F. Supp. 991, 992–93 (D. Neb. 1993)); and Buss v. Douglas, 59 F.R.D. 334, 336

(D. Neb. 1973) (“At common law no action for damages, exemplary or otherwise, lay against

public officials acting in their official capacities as agents of the sovereign.”).

        Specific to a Title IX case, this Court held that “when the Seventh Amendment was

adopted, there was no action equivalent to Plaintiff's Title IX claim against BRUN.” Doe, No.

4:21CV3049, 2023 WL 2351687, at *2. See also Abdulsalam, 2023 WL 2374460, at *2

(holding same).

        Third, to the extent this claim is asserted against Alberts and Williams, Plaintiff is

not entitled to a jury trial for the same reasons as discussed in Section II.B infra, which they

incorporate as though fully set forth herein; i.e. the STCA applies (Title IX is inapplicable to

individual Defendants) and it does not allow a jury trial for claims brought against state

officials for actions or inactions in the scope of their employment.

        Accordingly, because no right to a jury trial existed under the common law against

the sovereign state, and there is no express or clear language in 42 U.S.C.A. § 2000d-7 or

Title IX waiving such immunity, there is no right to a jury trial for Plaintiff’s claims under

Title IX.

B.      PLAINTIFF IS NOT ENTITLED TO A JURY TRIAL ON HER A FOURTH CAUSE OF ACTION
        ASSERTED AGAINST ALBERTS.

        In the Fourth Cause of Action, asserted against Alberts, in his individual capacity,

under 42 U.S.C. § 1983, Plaintiff alleges, “Alberts ratified Williams’ decision to remove

Scoggin, did not order investigation into Love’s predation behavior, did not order

investigation into whether Williams was aware that Love presented a risk of sexual

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predation, did not order training, did not clarify policies, encouraged Scoggin to leave, and

allowed Love to resign voluntarily.” [Doc. No. 1, ¶ 94.] Notably, Plaintiff does not assert a

constitutional violation in the Fourth Cause of Action. [See Doc. No. 1, ¶ 94 – 95.]

       [T]he basic purpose of § 1983 damages is to compensate persons for injuries that are

caused by the deprivation of constitutional rights.” Rohren v. Centennial Pub. Sch. Dist. 67-

R, No. 4:07CV3150, 2007 WL 4118943, at *1 (D. Neb. Nov. 16, 2007) (quoting Memphis

Community School Dist. v. Stachura, 477 U.S. 299, 307 (1986)). “‘Damages for a

constitutional violation are a legal remedy,’ (City of Monterey v. Del Monte Dunes at Monterey,

Ltd., 526 U.S. 687, 710 (1999)), and ‘a § 1983 suit seeking legal relief is an action at law

within the meaning of the Seventh Amendment.’ City of Monterey, 526 U.S. at 709.” Id. “42

U.S.C. § 1983 does not expressly provide for the right to a jury trial;” “therefore, any right

to a jury trial on Plaintiff's claims must be based on a Seventh Amendment analysis.”

Oglesby v. Lesan, No. 4:16CV3189, 2017 WL 2345666, at *3 (D. Neb. May 30, 2017), aff'd,

No. 4:16CV3189, 2017 WL 2881128 (D. Neb. July 6, 2017) (citation omitted).

       In this case, Plaintiff’s Fourth Cause of Action is not premised on a constitutional

right. Instead, it is reminiscent of a tort claim, for which there is no entitlement to a jury.

       The Nebraska State Tort Claims Act (“STCA”) applies to a tort claim against a state

agency and state officials. See NEB. REV. STAT §§ 81-8,209 et seq. The application of the

STCA to a claim against a state official occurs regardless of whether the claim is against a

state official in their individual capacity. As the Nebraska Supreme Court explained:

       Under § 81-8,210, whether a plaintiff has sued a state officer or employee in
       his or her individual capacity is irrelevant to whether the STCA bars a tort
       claim against that officer or employee. That is because § 81-8,210(4) defines
       a tort claim to mean a claim for money damages caused by the wrongful or
       negligent conduct of an officer or employee who was acting “within the scope
       of his or her office or employment, under circumstances in which the state, if
       a private person, would be liable to the claimant for such damage, loss, injury,
       or death.” And § 81-8,209 authorizes tort liability for a state officer or
       employee only to the extent the STCA permits. So, under the STCA's
       definition of a tort claim, plaintiffs are limited to suing state officers
       and employees in their official capacities.



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Davis v. State, 297 Neb. 955, 970, 902 N.W.2d 165, 181 (2017). See Kruger v. Neb., 820 F.3d

295 (8th Cir. 2016) (holding the district court correctly dismissed claims asserted against

department officials in their individual capacities “because the department officials' actions

were taken while they were acting in the scope of their employment,” and “the STCA

limits Kruger [the plaintiff] to proceeding against the department officials in their official

capacities.”); D.M. v. State, 23 Neb. App. 17, 867 N.W.2d 622, 632 (2015) (holding any tort

claim against the employees must be brought under the State Tort Claims Act); and

Lundberg v. Univ. of Neb., No. 4:CV95-3448, 1996 WL 883606, at *4 (D. Neb. Nov. 25, 1996)

(holding BRUN and the University of Nebraska are “agencies of the state,” and “[a]s such,

suits against them must be brought in accordance with the State Tort Claims Act.”)

       Here, there is no question that the Fourth Cause of Action is brought against Alberts

for actions or inactions within the scope of his employment with a state agency (BRUN). [See

Doc. No. 1.] This means the STCA limits the Plaintiff to proceeding against Alberts—a state

official—in his official capacity. Accordingly, because “[a] suit against a government officer

in his official capacity is functionally equivalent to a suit against the employing

governmental entity,” sovereign immunity applies. King v. City of Crestwood, Missouri, 899

F.3d 643, 650 (8th Cir. 2018). See also James v. Nebraska, No. 8:09CV112, 2009 WL

10664338, at *4 (D. Neb. Nov. 17, 2009).

       Similarly, Plaintiff is not entitled to a jury for her tort claim against Alberts. The STCA

does not allow it:

       The district court, sitting without a jury, shall have exclusive jurisdiction to
       hear, determine, and render judgment on any suit or tort claim. Suits shall
       be brought in the district court of the county in which the act or omission
       complained of occurred or, if the act or omission occurred outside the
       boundaries of the State of Nebraska, in the district court for Lancaster
       County.

NEB. REV. STAT. § 81-8,214 (emphasis added). Even the jury instructions for the Tort Claims

Acts state, “Jury instruction on this issue is no longer called for. By statue, causes of action




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under Nebraska's Tort Claims Acts are now tried without a jury.” 1 Neb. Prac., NJI2d Civ.

8.72.

        In Jacobson v. Shresta, the Nebraska Supreme Court further addressed the issue of

whether a plaintiff is entitled to a jury trial on a claim against a Nebraska political

subdivision and held it was not. The Court explained:

        [T]he [Nebraska] Legislature has the right to decide the terms under which it
        will waive its sovereign and governmental immunity for tort actions against
        the State or its political subdivisions . . . And because the Legislature has
        determined when and how it will waive the State's sovereign and governmental
        immunity, we will find a waiver of such immunity only where stated by express
        language or clear implications.

Jacobson, 288 Neb. at 625, 849 N.W.2d at 521-22. “Because a jury trial is not one of the

terms of its waiver of governmental immunity under the PSTCA,” the Nebraska Supreme

Court held there was no right to a jury trial on that claim. Id.; see also Frosh ex rel.

Rohrbouck v. N. Platte Pub. Sch., No. 7:06CV5014, 2006 WL 3388642, at *2 (D. Neb. Nov.

21, 2006) (striking plaintiff’s jury trial demand against North Platte Public Schools because

there was no express waiver of sovereign immunity as to a jury trial).

        “Because the language of the intentional tort exception is nearly identical under both

the PSTCA and the STCA, the cases construing the exception under the PSTCA are

applicable to cases under the STCA and vice versa.” Pieper v. State, 29 Neb. App. 912, 918,

962 N.W.2d 715, 719 (2021) (internal citation omitted).

        Finally, the Plaintiff has no right to a jury trial on her claim asserted in the Fourth

Cause of Action against Alberts “because at common law no action for damages . . . lay

against public officials acting in their official capacities as agents of the sovereign.” Buss, 59

F.R.D. at 336. See Rohren, No. 4:07CV3150, 2007 WL 4118943, at *2. “[S]ince there was no

common law right to sue the political subdivisions of the State of Nebraska, there was no

Seventh Amendment right to a jury trial.” Id. (citing Gragg v. City of Omaha, 812 F.Supp.

991, 992–93 (D. Neb.1993)).




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      Accordingly, because there is no express language preserving the right to a jury trial

against state agencies or state officials acting within the scope of their employment under

Title IX, the STCA, or common law, Plaintiff’s jury demand with respect to the Third and

Fourth Causes of Action must be stricken.

                                  III.   CONCLUSION

      For the foregoing reasons, Defendants respectfully request the Court grant its Motion

to Strike Jury Demand.

      Dated this 17th day of January, 2025.

                                                 BOARD OF REGENTS OF THE
                                                 UNIVERSITY OF NEBRASKA, and
                                                 Individuals AMY WILLIAMS, TREV
                                                 ALBERTS, Defendants


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                              CERTFICATE OF COMPLIANCE
      I, Lily Amare, hereby certify that this Brief complies with the limits set forth in
NECivR 7.1(d). Further, based on the Word Count function of Microsoft Word 2013-word
processing software, applied to include all text, including the caption, headings, footnotes,
and quotations, I certify this Brief contains 3,406 words.
       I further certify that no generative artificial intelligence program was used in
drafting this document.
                                                   /s/ Lily Amare
                                                   Lily Amare


                               CERTIFICATE OF SERVICE

        I hereby certify that on January 17, 2025, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to
all parties.


                                                   /s/ Lily Amare
                                                   Lily Amare


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